    Case 16-50318            Doc 183        Filed 11/28/22         EOD 11/28/22 15:33:14               Pg 1 of 3




                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

IN RE:                                               )
                                                     )
ITT EDUCATIONAL SERVICES, INC., et al. 1             )                    Case No. 16-07207-JMC-7A
                                                     )
        Debtors.                                     )                    Jointly Administered
                                                     )
DEBORAH J. CARUSO, TRUSTEE FOR ITT                   )
EDUCATIONAL SERVICES, INC., et al.,                  )
                                                     )
        Plaintiff,                                   )
                                                     )                    Adversary Proceeding No. 16-50318
v.                                                   )
                                                     )
SECURITIES AND EXCHANGE COMMISSION, )
CONSUMER FINANCIAL PROTECTION                        )
BUREAU, MAURA T. HEALEY, in her capacity )
as the Attorney General of the Commonwealth of )
Massachusetts, HECTOR H. BALDERAS, JR.,              )
in his capacity as the Attorney General of the State )
of New Mexico, TERRI L. BURTON, RAYMOND )
BRINEY, RODFORD SEABOLT, DALISHA K. )
ALDRIDGE, KAYLA SCIFRES, THERESA                     )
WINTERS, NICOLE AKERLEY, and                         )
JOHN/JANE DOES 1-10,                                 )
                                                     )
        Defendants.                                  )

               NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(i), made

applicable to this proceeding pursuant to Fed. R. Bankr. P. 7041, Deborah J. Caruso, the chapter

7 trustee in the bankruptcy cases of ITT Educational Services, Inc. and its affiliated debtors and

the Plaintiff in the above-captioned action (the “Adversary Proceeding”), voluntarily dismisses

this Adversary Proceeding against Defendants MAURA T. HEALEY, in her capacity as the


1
 The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
   Case 16-50318       Doc 183     Filed 11/28/22     EOD 11/28/22 15:33:14        Pg 2 of 3




Attorney General of the Commonwealth of Massachusetts, and HECTOR H. BALDERAS, Jr., in

his capacity as the Attorney General of the State of New Mexico, both without prejudice.

                                                    Respectfully submitted,

                                                    /s/ Meredith R. Theisen
                                                    Deborah J. Caruso (Atty. No. 4273-49)
                                                    Meredith R. Theisen (Atty. No. 28804-49)
                                                    RUBIN & LEVIN, P.C.
                                                    135 N. Pennsylvania Street, Suite 1400
                                                    Indianapolis, Indiana 46204
                                                    Telephone: (317) 634-0300
                                                    Facsimile: (317) 263-9411

                                                    Counsel to the Trustee

                                CERTIFICATE OF SERVICE

         I hereby certify that on November 28, 2022, a copy of the foregoing Notice of Voluntary
Dismissal without Prejudice was filed electronically. Notice of this filing will be sent to the
following parties through the Court’s Electronic Case Filing System. Parties may access this
filing through the Court’s system.

James David Ballinger jim@kentuckytrial.com, jennifer@kentuckytrial.com
Deborah Caruso dcaruso@rubin-levin.net, dwright@rubin-levin.net;cgilly@rubin-
levin.net;atty_dcaruso@bluestylus.com
Elaine Victoria Fenna elaine.fenna@morganlewis.com
Lisa Giandomenico lgiandomenico@nmag.gov
John C. Hoard johnh@rubin-levin.net, lking@rubin-
levin.net;atty_jch@trustesolutions.com;sturpin@rubin-levin.net
Diana Hooley diana.hooley@state.ma.us
James C Jacobsen jjacobsen@nmag.gov, eheltman@nmag.gov
Timothy Q. Karcher tkarcher@proskauer.com
Jeff J. Marwil jmarwil@proskauer.com
Rachel Jaffe Mauceri rmauceri@rc.com
Maureen Elin McOwen molly.mcowen@cfpb.gov
Thomas E Mixdorf thomas.mixdorf@icemiller.com, brandy.matney@icemiller.com
Jonathan Hjalmer Reischl jonathan.reischl@cfpb.gov
James E Rossow jim@rubin-levin.net, mralph@rubin-
levin.net;ATTY_JER@trustesolutions.com
Meredith R. Theisen mtheisen@rubin-levin.net, dwright@rubin-levin.net;mcruser@rubin-
levin.net
U.S. Trustee ustpregion10.in.ecf@usdoj.gov
Philip A. Whistler philip.whistler@icemiller.com, holly.minnis@icemiller.com
Cathleen Dianne Wyatt cwyatt@fbtlaw.com, tacton@fbtlaw.com



                                                2
   Case 16-50318      Doc 183    Filed 11/28/22    EOD 11/28/22 15:33:14       Pg 3 of 3




Philip A. Whistler philip.whistler@icemiller.com, holly.minnis@icemiller.com
Cathleen Dianne Wyatt cwyatt@fbtlaw.com, tacton@fbtlaw.com

                                                  /s/ Meredith R. Theisen
                                                  Meredith R. Theisen




                                            3
